                                                                                               1 Mark S. Bostick (Bar No. 111241)
                                                                                                 Lisa Lenherr (Bar No. 258091)
                                                                                               2 WENDEL ROSEN LLP
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                                                                                               5 Email: llenherr@wendel.com

                                                                                               6 Attorneys for Michael G. Kasolas
                                                                                                 Claims Representative
                                                                                               7

                                                                                               8

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                                                                                              10                             UNITED STATES BANKRUPTCY COURT

                                                                                              11                              NORTHERN DISTRICT OF CALIFORNIA

                                                                                              12                                       SAN FRANCISCO DIVISION
                                                     O akland, Ca lif or ni a 946 07-4 036




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                   1111 Bro adw ay, 24 t h F lo or
Wendel Rosen LLP




                                                                                              14 In re:                                               Case No. 19-30088-DM

                                                                                              15 PG&E CORPORATION                                     Chapter 11 (Lead Case)
                                                                                                                                                      (Jointly Administered)
                                                                                              16          -and-

                                                                                              17 PACIFIC GAS AND ELECTRIC
                                                                                                 COMPANY,
                                                                                              18                     Debtors.

                                                                                              19 □ Affects PG&E Corporation
                                                                                                 □ Affects Pacific Gas and Electric Company
                                                                                              20 ■ Affects both Debtors

                                                                                              21
                                                                                                 *All papers shall be filed in the Lead Case,
                                                                                              22 No. 19-30088 (DM)

                                                                                              23

                                                                                              24
                                                                                                                                      CERTIFICATE OF SERVICE
                                                                                              25
                                                                                                          I, Jeanne Rose, declare:
                                                                                              26
                                                                                                          I am a citizen of the United States and am employed in Alameda County, California. I am
                                                                                              27
                                                                                                   over the age of eighteen years and not a party to the within-entitled action. My business address is
                                                                                              28
                                                                                                   1111 Broadway, 24th Floor, Oakland, California 94607.

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                                                                                             Case: 19-30088       Doc# 4963-1        Filed: 12/03/19 Entered: 12/03/19 17:11:07        Page 1
                                                                                                   CERTIFICATE OF SERVICE                     of 3   1
                                                                                               1         On the date set forth below, I served a copy of the following document(s):

                                                                                               2
                                                                                                         FIRST REPORT OF COURT APPOINTED CLAIMS REPRESENTATIVE
                                                                                               3

                                                                                               4
                                                                                                   [X]   (ECF): Pursuant to controlling General Orders and LBR, the foregoing document will be
                                                                                               5         served by the court via Notice of Electronic Filing (“NEF”) and hyperlink to the
                                                                                                         document. On the date set forth below, I checked the CM/ECF docket for this bankruptcy
                                                                                               6         case or adversary proceeding and determined that the following persons are on the list of
                                                                                               7         parties to receive NEF transmission at the email addresses stated below:

                                                                                               8
                                                                                                 Paul H. Zumbro on behalf of Debtor PG&E Corporation
                                                                                               9 mao@cravath.com

                                                                                              10 Tobias S. Keller on behalf of Debtor PG&E Corporation
                                                                                                 tkeller@kellerbenvenutti.com, pbenvenutti@kellerbenvenutti.com
                                                                                              11

                                                                                              12 Tobias S. Keller on behalf of Debtor Pacific Gas and Electric Company
                                                                                                 tkeller@kellerbenvenutti.com, pbenvenutti@kellerbenvenutti.com
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Wendel Rosen LLP




                                                                                                 Eric E. Sagerman on behalf of Creditor Committee Official Committee of Tort Claimants
                                                                                              14 esagerman@bakerlaw.com

                                                                                              15
                                                                                                 Cecily Ann Dumas on behalf of Creditor Committee Official Committee of Tort Claimants
                                                                                              16 cdumas@bakerlaw.com, BHDataServices@ecf.courtdrive.com

                                                                                              17 Samuel A. Khalil on behalf of Creditor Committee Official Committee Of Unsecured Creditors
                                                                                                 skhalil@milbank.com, jbrewster@milbank.com
                                                                                              18
                                                                                                 Samuel A. Khalil on behalf of Interested Party Official Committee Of Unsecured Creditors
                                                                                              19
                                                                                                 skhalil@milbank.com, jbrewster@milbank.com
                                                                                              20
                                                                                                 Thomas R. Kreller on behalf of Creditor Committee Official Committee Of Unsecured Creditors
                                                                                              21 tkreller@milbank.com

                                                                                              22 Dennis F. Dunne on behalf of Interested Party Official Committee Of Unsecured
                                                                                                 Creditors
                                                                                              23 cprice@milbank.com, jbrewster@milbank.com

                                                                                              24 AND

                                                                                              25 [X]     (by mail) by placing a true and correct copy thereof enclosed in a sealed envelope with
                                                                                                         first-class postage prepaid in a designated area for outgoing mail, addressed as set forth
                                                                                              26         below. At Wendel, Rosen, Black & Dean, LLP, mail placed in that designated area is
                                                                                                         given the correct amount of postage and is deposited that same day, in the ordinary course
                                                                                              27         of business, in a United States mailbox in the City of Oakland, California.
                                                                                              28


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                                                                                             Case: 19-30088    Doc# 4963-1      Filed: 12/03/19 Entered: 12/03/19 17:11:07            Page 2
                                                                                                   CERTIFICATE OF SERVICE                of 3   2
                                                                                               1 Weil, Gotshal & Manges LLP
                                                                                                 Attn: Stephen Karotkin, Jessica Liou, Matthew Goren
                                                                                               2 767 Fifth Avenue
                                                                                                 New York, NY 10153-0119
                                                                                               3
                                                                                                 Attorneys for Debtors
                                                                                               4
                                                                                                 Cravath, Swaine & Moore LLP
                                                                                               5 Attn: Paul S. Aronzon, Gregory A. Bray
                                                                                                 2029 Century Park East, 33rd Floor
                                                                                               6 Los Angeles, CA 90067

                                                                                               7 Special Counsel for Debtors

                                                                                               8
                                                                                                          I declare under penalty of perjury under the laws of the State of California and the United
                                                                                               9
                                                                                                   States of America that the foregoing is true and correct, and that this declaration was executed on
                                                                                              10
                                                                                                   December 3, 2019, at Oakland, California.
                                                                                              11

                                                                                              12
                                                                                                                                                        /s/ Jeanne Rose
                                                     O akland, Ca lif or ni a 946 07-4 036




                                                                                              13                                                    JEANNE ROSE
                   1111 Bro adw ay, 24 t h F lo or
Wendel Rosen LLP




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                                                                                                   CERTIFICATE OF SERVICE                   of 3   3
